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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,              Case No. 2:14-MJ-00186-BAT

10          v.                                            DETENTION ORDER

11 ROGER LEE HIDDLESTON,

12                                Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant is unemployed and has a criminal history spanning years that includes crimes

18 involving violence and substance abuse. He has failed to appear for court appearances

19 repeatedly over the years. He has a serious drug abuse problem and is a daily user of several

20 different controlled substances. The evidence against him is strong and the extremely lengthy

21 prison sentence he faces if convicted are strong incentives to flee.

22          It is therefore ORDERED:

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     DETENTION ORDER - 1
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 1          (1)    Defendant shall be detained pending trial and committed to the custody of the

 2 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 3 from persons awaiting or serving sentences, or being held in custody pending appeal;

 4          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 5 counsel;

 6          (3)    On order of a court of the United States or on request of an attorney for the

 7 Government, the person in charge of the correctional facility in which Defendant is confined

 8 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 9 connection with a court proceeding; and

10          (4)    The Clerk shall provide copies of this order to all counsel, the United States

11 Marshal, and to the United States Probation and Pretrial Services Officer.

12          DATED this 7th day of May, 2014.

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                                                                 A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
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     DETENTION ORDER - 2
